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7
8                     IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )        No. CR-S-09-0025-JAM
                                     )
12                  Plaintiff,       )        STIPULATION AND ORDER
                                     )        CONTINUING STATUS CONFERENCE
13        v.                         )        AND EXCLUDING TIME
                                     )
14   BLAS MIJANGOS RIVERA, and       )        Date: April 6, 2010
     MARTIN MIJANGOS RIVERA,         )        Time: 9:30 a.m.
15                                   )        Court: Hon. John A. Mendez
                    Defendants.      )
16   _______________________________ )
17
18        It is hereby stipulated and agreed to between the United
19   States of America by and through Matthew C. Stegman, Assistant
20   United States Attorney; defendant BLAS MIJANGOS RIVERA, by and
21   through his counsel, Bruce M. Margolin; and defendant MARTIN
22   MIJANGOS RIVERA, by and through his counsel, Donald B. Marks, that
23   the status conference presently set for April 6, 2010, be continued
24   to April 20, 2010, at 9:30 a.m.      All counsel continue to require
25   additional time to engage in plea negotiations and to conduct legal
26   research and investigation concerning possible plea.
27        It is further stipulated that the period of time from April 6,
28   2010, through and including April 20, 2010, be excluded in


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1    computing the time within which trial must commence under the
2    Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and
3    Local Code T4 for continuity and preparation of counsel.
4    DATED: April 2, 2010                /s/ Bruce M. Margolin
                                        Attorney for Defendant
5                                       BLAS MIJANGOS RIVERA
6
                                         /s/ Donald B. Marks
7                                       Attorney for Defendant
                                        MARTIN MIJANGOS RIVERA
8
9
                                        BENJAMIN B. WAGNER
10                                      United States Attorney
11
12   DATED: April 2, 2010         By:    /s/ Matthew Stegman
                                        MATTHEW STEGMAN
13                                      Assistant U.S. Attorney
14
15
16                                       ORDER
17        IT IS SO ORDERED.
18   DATED: _April 2, 2010
     ______________________________/s/ John A. Mendez          ______
19                                 JOHN A. MENDEZ
                                   United States District Judge
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